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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 FAIR FIGHT ACTION, INC, et al.,
      Plaintiffs,
      v.
 BRAD RAFFENSPERGER, et al.,                          Civil Action No.
   Defendants.                                        1:18-cv-05391-SCJ




                 PLAINTIFFS’ AMENDED ATTACHMENT F-1
                             (WITNESS LIST)

      Plaintiffs identify herein the individual witnesses they will and/or may call

for this lawsuit. Plaintiffs reserve the right to modify or supplement this list with

reasonable notice to counsel.

Plaintiffs will call:

 NAME                               ADDRESS
                                    In care of Lawrence & Bundy LLC
                                    Attn: Leslie J. Bryan
                                    1180 West Peachtree Street
                                    Suite 1650
 Bishop Reginald Jackson            Atlanta, GA 30309
                                    In care of Lawrence & Bundy LLC
                                    Attn: Leslie J. Bryan
                                    1180 West Peachtree Street
                                    Suite 1650
 Rev. Bronson Woods                 Atlanta, GA 30309
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                                   In care of Lawrence & Bundy LLC
                                   Attn: Leslie J. Bryan
                                   1180 West Peachtree Street
                                   Suite 1650
    Cianti Stewart-Reid            Atlanta, GA 30309
                                   In care of Lawrence & Bundy LLC
                                   Attn: Leslie J. Bryan
                                   1180 West Peachtree Street
                                   Suite 1650
    Jess Livoti                    Atlanta, GA 30309
                                   In care of Lawrence & Bundy LLC
                                   Attn: Leslie J. Bryan
                                   1180 West Peachtree Street
                                   Suite 1650
    Rev. Herman Scott              Atlanta, GA 30309
                                   In care of Lawrence & Bundy LLC
                                   Attn: Leslie J. Bryan
                                   1180 West Peachtree Street
                                   Suite 1650
    Rev. Matt Laney                Atlanta, GA 30309

Plaintiffs may call:

    Name                          Address
                                  GA Peace Office Training & Standards Council
                                  5000 Austell-Powder Springs Road
                                  Suite 280
    Chris Harvey                  Austell, GA 30106
                                  Office of the Governor
                                  206 Washington Street
                                  111 State Capitol
    Brian Kemp1                   Atlanta, GA 30334




1
 By agreement among the parties, Plaintiffs will offer the testimony of Brian
Kemp by deposition.

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                              Office of the Secretary of State
                              2 Martin Luther King, Jr. Drive
                              Suite 082
                              Floyd West Tower
Michael Barnes                Atlanta, GA 30334
                              Office of the Secretary of State
                              2 Martin Luther King, Jr. Drive
                              Suite 082
                              Floyd West Tower
Merritt Beaver                Atlanta, GA 30334
                              Office of the Secretary of State
                              2 Martin Luther King, Jr. Drive
                              Suite 082
                              Floyd West Tower
Ryan Germany                  Atlanta, GA 30334
                              U.S. Election Assistance Commission
                              633 3rd Street, NW
                              Suite 200
Kevin Rayburn                 Washington, DC 20001
                              Georgia Dept. of Human Services
                              2 Peachtree Street
John Hallman                  Atlanta, GA 30303
                              Director of Operations
                              Office of Commissioner of Insurance
                              2 Martin Luther King, Jr., Drive
                              West Tower
                              Suite 702
Melanie Frechette             Atlanta GA 30334
                              Office of the Secretary of State
                              2 Martin Luther King, Jr. Drive
                              Suite 082
                              Floyd West Tower
Breanna Thomas                Atlanta, GA 30334




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                                  Office of the Secretary of State
                                  2 Martin Luther King, Jr. Drive
                                  Suite 082
                                  Floyd West Tower
    Russell Lewis                 Atlanta, GA 30334
                                  4018 Ravenwood Ct.
    Axiver Harris                 Union City, GA 30291
                                  Georgia Dept. of Administrative Services
                                  200 Piedmont Ave.
                                  Suite 1804
    Rebecca Sullivan              Atlanta, GA 30334
                                  Evangellista Worley LLC
                                  500 Sugar Mill Road
                                  Suite 245A
    David Worley                  Atlanta, GA 30350
                                  8000 Midland Road
                                  Farm No. 12
    Seth Harp                     Midland, GA 31820
                                  2206 East View Parkway
    Angelique McClendon           Conyers, GA 30013
                                  In care of Lawrence & Bundy LLC
                                  Attn: Leslie J. Bryan
                                  1180 West Peachtree Street
                                  Suite 1650
    Lauren Groh-Wargo2            Atlanta, GA 30309




2
 On December 23, 2021, Plaintiffs notified Defendants that Plaintiffs were
withdrawing Lauren Groh-Wargo from Plaintiffs’ may-call witness list and
substituting Liza Conrad in her place. On January 14, 2022, Defendants notified
Plaintiffs that Defendants were adding Ms. Groh-Wargo to Defendants’ may-call
witness list. In Plaintiffs’ Amended Witness List, Plaintiffs have retained Ms.
Groh-Wargo on their may-call witness list.


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                                   In care of Lawrence & Bundy LLC
                                   Attn: Leslie J. Bryan
                                   1180 West Peachtree Street
                                   Suite 1650
                                 3
    Sen. Rev. Raphael Warnock      Atlanta, GA 30309
    Dr. Adrienne Jones –           In care of Lawrence & Bundy LLC
    Summaries of Dr. Jones’s       Attn: Leslie J. Bryan
    opinions are set out in her    1180 West Peachtree Street
    expert reports, ECF 92, 643-1 Suite 1650
    and 712-1                      Atlanta, GA 30309
                                   In care of Lawrence & Bundy LLC
    Peyton McCrary – A summary Attn: Leslie J. Bryan
    of Mr. McCrary’s opinions is 1180 West Peachtree Street
    found in his expert report,    Suite 1650
    ECF 339                        Atlanta, GA 30309
                                   In care of Lawrence & Bundy LLC
    Kenneth Mayer – Summaries Attn: Leslie J. Bryan
    of Dr. Mayer’s opinions are    1180 West Peachtree Street
    found in his expert reports,   Suite 1650
    ECF 238 and 657-1              Atlanta, GA 30309
                                   In care of Lawrence & Bundy LLC
    Kevin Kennedy – A summary Attn: Leslie J. Bryan
    of Mr. Kennedy’s opinions are 1180 West Peachtree Street
    found in his expert report,    Suite 1650
    ECF 167                        Atlanta, GA 30309
                                   In care of Lawrence & Bundy LLC
    Daniel Smith – A summary of Attn: Leslie J. Bryan
    Dr. Smith’s opinions are       1180 West Peachree Street
    found in his expert report,    Suite 1650
    ECF 168                        Atlanta, GA 30309




3
 By agreement among the parties, Plaintiffs will offer the testimony of Sen. Rev.
Raphael Warnock by deposition.


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Dr. Lorraine Minnite –        In care of Lawrence & Bundy LLC
Summaries of Dr. Minnite’s    Attn: Leslie J. Bryan
opinions are found in her     1180 West Peachtree Street
expert reports, ECF 148 and   Suite 1650
644-1                         Atlanta, GA 30309
                              90 Nesmith Street
Margaret Church               Lawrence, Massachusetts 01841
                              Lieff, Cabraser, Heimann & Bernstein, LLC
                              275 Battery Street
                              Suite 2900
Kelly Dermody                 San Francisco, CA 94111
                              202 Lewis Drive
Kiara Jackson                 Savannah, GA 31406
                              202 Lewis Drive
Antoinette Johnson            Savannah, GA 31406
                              118 Huntington Avenue
                              Apt. 1805
Mollye Lockwood               Boston, MA 02116
                              1107 East Duffy Street
Hank Bromley                  Savannah, Georgia 31404
                              125 Wisteria Lane
Frank Lucas                   Leesburg, GA 31763
                              6670 Hamilton Street
                              Apt. 6
Dasia Holt                    Preston, GA 31824
                              4 Althea Parkway
Patrick Longstreth            Savannah, GA 31405
                              222 Medford Pl
Chris Duncan                  Jacksonville, FL 32225-3338
                              3809 Wieuca Road NE
Cam Thi Ashling               Atlanta, GA 30342
                              3305 Oakbriar Drive
Jacqueline Bartley            Loganville, GA 30052
                              1747 Tidewell Trace Rear
Kia Carter                    Lawrenceville, GA 30043
                              699 Penn Avenue NE
Samantha Cramer               Atlanta, GA 30308


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                              246 Forrest Drive
Anthony McKissic              Palmetto, GA 30268
                              218 East Trinity Place
                              Apt. 712
Saundra Brundage              Decatur, GA 30030
                              2052 North Avenue NW
                              Unit B
Alexus Symone Clark           Atlanta, GA 30318
                              700 Park Drive NE
Shannon Cofrin Gaggero        Atlanta, GA 30306
                              1295 East Rock Springs Road NE
                              Apt. 124
Phoebe Einzig-Roth            Atlanta, GA 30306
                              24 Old Amherst Road
Barbara McCusick Liscord      Mont Vernon, NH 03057
                              5148 Meadowlake Drive
Melanie Manning               Dunwoody, GA 30338
                              295 East Burns Court SW
                              Apt. B
Keteria Neal                  Marietta, GA 30008
                              828 Charles Allen Drive NE
Gary Ratner                   Atlanta, GA 30308
                              In care of Lawrence & Bundy LLC
                              Attn: Leslie J. Bryan
                              1180 West Peachtree Street
                              Suite 1650
Benjamin Ross                 Atlanta, GA 30309
                              136 Hillandale Drive
                              Apt. 804
Eunice Walden                 Lithonia, GA 30058
                              2342 Massey Lane
Carlos del Rio                Decatur, GA 30033
                              1006 Juniper Street
Diana Cofield                 LaGrange, GA 30240
                              229 Elvan Avenue NE
Robin Boyd                    Atlanta, GA 30317



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                              353 Laurel Glen Crossing
Felicia Freeman               Canton, GA 30114
                              352 Pinehurst Lane
Lori Goldstrom                Marietta, GA 30068
                              346 Fox Tail Drive
Norma Guardiola-Valle         Macon, GA 31220
                              1442 Black Hickory Place
Audrey Jackson                Norcross, GA 30093
                              22 Collier Road NW
                              Unit 9
Linda Marshall                Atlanta, GA 30309
                              178 Antebellum Circle
Diondra Thurmon-Jetter        Riverdale, GA 30274
                              3151 Stillhouse Creek Drive SE
                              Unit 4218
Camille Williams              Atlanta, GA 30339
                              64 Springhedge Court SE
Elan Brown                    Smyrna, GA 30080
                              1125 Grace Drive
Dina Medalla                  Lawrenceville, GA 30043
                              100 West Screven Street
Hon. Nancy Dennard            Quitman, GA 31643
                              575 West Centinela Avenue
                              Apt. 323
Aria Aaron                    Los Angeles, CA 90045
                              4324 Grant Forest Circle
Chauntel La'Shaun Abbott      Ellenwood, GA 30294
                              25 Julia Ann Lane
Kenya Abdul-Kaliq             Covington, GA 30016
                              455 Robinson Avenue SE
Deborah Allen                 Atlanta, GA 30315
                              994 Dell Avenue
Patricia Andros               Smyrna, GA 30080
                              225 Central Avenue SW
                              Apt.1520
Susan Banks Williams          Atlanta, GA 30303



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                                     180 Jackson Street
                                     Apt. 8204
    Dale Bennett                     Atlanta, GA 30312
                                     639 Garden Walk Boulevard
                                     Apt. 1104
    Tocarro Davis                    College Park, GA 30349
                                     545 Oak Drive
    G. Leah Davis, Ph.D.             Atlanta, GA 30354
                                     3270 West Paces Park Drive NW
    Dr. Sheree Dixon                 Atlanta, GA 30327
                                     213 Martha Avenue NE
    Lee Ann Feeley                   Atlanta, GA 30317
                                     708 High Point Trail
    Nicole Freemon                   Woodstock, GA 30188
                                     9 Tybrisa Street
                                     Apt. 16
    Julian Grill                     Tybee Island, GA 31328
                                     78 Swanson Drive
    Alkhealasharteula Harrison       LaGrange, GA 30240
                                     800 Peachtree Street NE
                                     Apt. 8601
    Emily Huskey                     Atlanta, GA 30308
                                     313 Winnona Drive
    Aaron Karp                       Decatur, GA 30030
                                     5536 Parkerton Lane NE
    Dr. Ali Kefeli                   Atlanta, GA 303424
                                     712 Roxboro Trace
    Alice Koerner                    Lawrenceville, GA 30044
                                     3073 Oakham Place
    Brenda Lee                       Avondale Estates, GA 30002
                                     1606 Rochelle Court
    Lindsay Mataya                   Dunwoody, GA 30338
                                     745 Windsor Parkway
    Michael Parks                    Atlanta, GA 30342-2803


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    Dr. Kefeli is moving to Chicago, IL ahead of the April 11, 2022, trial setting.

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                             152 Murray Hill Ave NE
Rachel Pittluck              Atlanta, GA 30317
                             1308 Sargent Avenue SE
Kathryn (Katie) Plazyk       Atlanta, GA 30316
                             3450 Berwick South Drive
Ruwa Romman                  Duluth, GA 30096
                             3465 Duluth Highway 120
                             Apt. 5417
Meredith Rose                Duluth, GA 30096
                             170 Kelly Creek Road
Donna Sims                   Waco, GA 30182
                             1914 Dimon Street
Margaret Skinner (Whatley)   Columbus, GA 31906
                             400 West Peachtree Street NW
                             Unit 1102
Andre Smith                  Atlanta, GA 30308
                             3491 Thornwoode Pointe
Michelle Solomon             Decatur, GA 30034
                             850 Piedmont Avenue NE
                             Unit 1501
Scott Spencer                Atlanta, GA 30308
                             1883 Baynham Drive
Grace Strickland             Dunwoody, GA 30338
                             716 Amsterdam Avenue NE
Benjamin Terry               Atlanta, GA 30306
                             1308 Santa Fe Parkway
Nelli Vergilis               Atlanta, GA 30350
                             104 Simmons Street
Robert Walker, Jr.           Byron, GA 31008
                             7102 Renaissance Way
Leigh Ann Webster            Atlanta, GA 30308
                             115 West Peachtree Place NW
                             Unit 412
Keith Weinberg               Atlanta, GA 30313
                             2202 Winston Way
Jayme Wills                  Augusta, GA 30906



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                                 2263 Wayside Drive NE
Karen Zorn                       Atlanta, GA 30319
                                 In care of Lawrence & Bundy LLC
                                 Attn: Leslie J. Bryan
                                 1180 West Peachtree Street
                                 Suite 1650
Liza Conrad                      Atlanta, GA 30309
                                 315 West Forest Avenue
                                 Apt. 1D
Benjamin Ansa                    North Augusta, SC 29841
                                 2898 Partin Place
Michael Adaba                    Ellenwood, GA 30294
                                 4204 Ancient Amber Way
Rosa Hamalainen                  Peachtree Corners, GA 30092
                                 Office of the Secretary of State
                                 2 Martin Luther King, Jr. Drive
                                 Suite 082
                                 Floyd West Tower
Gabriel Sterling                 Atlanta, GA 30334
                                 Georgia Technology Authority
                                 47 Trinity Ave SW
Anh Le                           Atlanta, GA 30334
                                 3 Wellington Drive
Matt Mashburn                    Cartersville, GA 30120
Any witness necessary for
authentication of documents to
be used at trial




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